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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

     OFFIT KURMAN, P.A.
     Paul J. Winterhalter, Esq. (006961986)
     99 Wood Avenue South, Suite 302
     Iselin, NJ 08830
     Telephone: (267) 338-1370
     Facsimile: (267) 338-1335
     E-mail: pwinterhalter@offitkurman.com

     KTBS LAW LLP
     Michael L. Tuchin, Esq. (pro hac vice)
     Robert J. Pfister, Esq. (pro hac vice)
     Samuel M. Kidder, Esq. (pro hac vice)
     Nir Maoz, Esq. (pro hac vice)
     1801 Century Park East, 26th Floor
     Los Angeles, CA 90067
     Telephone: (310) 407-4000
     Facsimile: (310) 407-9090
     Email: mtuchin@ktbslaw.com
            rpfister@ktbslaw.com
            skidder@ktbslaw.com
            nmaoz@ktbslaw.com

     Attorneys for Aylstock, Witkin, Kreis & Overholtz,
     PLLC
     In re:                                             Chapter 11

     LTL MANAGEMENT LLC, 1                                        Case No.: 21-30589

     Debtor.                                                      Judge: Michael B. Kaplan



                                         CERTIFICATE OF SERVICE

            I, Shanda D. Pearson, hereby certify that:

            1.      I am over the age of eighteen years, am employed by KTBS Law LLP, and am not

 a party to the action herein.



 1
      The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
      Street, New Brunswick, New Jersey 08933.


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            2.     On April 11, 2022, I served the Motion of Aylstock, Witkin, Kreis & Overholtz,

 PLLC for an Order Regarding the Composition of the Official Committee of Talc Claimants

 (Docket No. 2029) and the Order Shortening Time Period for Notice, Setting Hearing and Limiting

 Notice (Docket No. 2047) by causing true and correct copies to be served via overnight delivery

 and electronic mail as set forth in Exhibit A.

            Executed on the 11th day of April 2022.


                                                      Shanda D. Pearson
                                                      KTBS Law LLP




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                            EXHIBIT A
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                      ROLE                                           COMPANY                                      NAME                                                 EMAIL
                                                                                                                                                 CBOATRIGHT@ARNOLDITKIN.COM;
                                                                                           KURT B ARNOLD, CAJ BOATRIGHT, ROLAND CHRISTENSEN      RCHRISTENSEN@ARNOLDITKIN.COM;
                                                  ARNOLD & ITKIN LLP                       & JASON ITKIN                                         JITKIN@ARNOLDITKIN.COM
                                                                                                                                                 JGREEN@ASHCRAFTLAW.COM;
                                                                                                                                                 PLYONS@ASHCRAFTLAW.COM;
                                                  ASHCRAFT & GEREL, LLP                    MICHELLE PARFITT, JAMES F. GREEN & PATRICK LYONS      MPARFITT@ASHCRAFTLAW.COM
                                                                                                                                                 MARYBETH@PUTNICKLEGAL.COM;
                                                  AYLSTOCK WITKIN KREIS & OVERHOLTZ PLLC   MARY PUTNICK & DANIEL THORNBURGH                      DTHORNBURGH@AWKOLAW.COM
COUNSEL TO OFFICIAL COMMITTEE TALC CLAIMANTS      BAILEY & GLASSER LLP                     CARY JOSHI                                            CJOSHI@BAILEYGLASSER.COM
                                                                                                                                                 DALUZT@BALLARDSPAHR.COM;
                                                                                                                                                 HEILMANL@BALLARDSPAHR.COM;
COUNSEL ALBERTSONS COMPANIES, INC                 BALLARD SPAHR LLP                        TOBEY M. DALUZ, LESLIE C. HEILMAN, LAUREL D. ROGLEN   ROGLENL@BALLARDSPAHR.COM
                                                  BARNES FIRM                              JOE VAZQUEZ                                           JOE.VAZQUEZ@THEBARNESFIRM.COM
                                                                                                                                                 CHARLIE.STERN@BEASLEYALLEN.COM;
                                                  BEASLEY ALLEN LAW FIRM                   CHARLIE STERN & LEIGH O'DELL                          LEIGH.ODELL@BEASLEYALLEN.COM
FEE EXAMINER                                      BERNSTEIN, SHUR, SAWYER & NELSON, P.A.   ROBER J. KEACH                                        RKEACH@BERNSTEINSHUR.COM
COUNSEL TO IMERYS TALC AMERICA, INC               BLANCO TACKABERY & MATAMOROS, P.A.       ASHLEY S. RUSHER                                      ASR@BLANCOLAW.COM
CO‐COUNSEL TO THE COMMITTEE OF TALC CLAIMANTS     BROWN RUDNICK LLP                        SUNNI P. BEVILLE                                      SBEVILLE@BROWNRUDNICK.COM
                                                                                                                                                 DMOLTON@BROWNRUDNICK.COM;
COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS   BROWN RUDNICK LLP                        DAVID J. MOLTON & ROBERT J. STARK                     RSTARK@BROWNRUDNICK.COM
COUNSEL TO PLAINTIFFS STEERING                    BURNS CHAREST LLP                        COMMITTEE) DANIEL H CHAREST                           DCHAREST@BURNSCHAREST.COM
                                                  CELLINO LAW LLP                          BRIAN GOLDSTEIN                                       BRIAN.GOLDSTEIN@CELLINOLAW.COM
COUNSEL TO THE CONTINENTAL INS CO                 CLYDE & CO US LLP                        KONRAD R. KREBS                                       KONRAD.KREBS@CLYDECO.US
                                                                                                                                                 CLINTON.CAMERON@CLYDECO.US;
COUNSEL TO THE CONTINENTAL INSURANCE COMPANY      CLYDE AND CO US LLP                      CLINTON E. CAMERON, MEGHAN DALTON                     MEGHAN.DALTON@CLYDECO.US
                                                  COHEN, PLACITELLA & ROTH, P.C.           DENNIS M. GEIER & CHRISTOPHER M. PLACITELLA           DGEIER@CPRLAW.COM; CPLACITELLA@CPRLAW.COM
                                                  COHEN, PLACITELLA & ROTH, P.C.           JARED M. PLACITELLA                                   JMPLACITELLA@CPRLAW.COM

COUNSEL TO CLAIMANTS REPRESENTED BY BARNES LAW    COLE SCHOTZ P.C.                         FELICE R. YUDKIN                                      FYUDKIN@COLESCHOTZ.COM

COUNSEL TO CLAIMANTS REPRESENTED BY BARNES LAW    COLE SCHOTZ P.C.                         MARK TSUKERMAN                                        MTSUKERMAN@COLESCHOTZ.COM
COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS   COOLEY LLP                               EVAN M. LAZEROWITZ                                    ELAZEROWITZ@COOLEY.COM

COUNSEL TO BCBS OF MASSACHUSETTS, INC.            CORDES LAW, PLLC                         STACY C. CORDES & MEGHAN A. VAN VYNCKT                STACY@CORDES‐LAW.COM; MEGHAN@CORDES‐LAW.COM
COUNSEL TO ARROWOOD INDEMNITY COMPANY             COUGHLIN MIDLIGE & GARLAND LLP           SUZANNE C. MIDLIGE                                    SMIDLIGE@CMG.LAW
COUNSEL TO CENTURY INSURERS ALLIANZ INSURERS      CROWELL & MORING LLP                     TACIE YOON & RACHEL JANKOWSKI                         TYOON@CROWELL.COM; RJANKOWSKI@CROWELL.COM
COUNSEL TO CENTURY INSURERS, ALLIANZ INSURERS     CROWELL & MORING LLP                     GREGORY GENNADY PLOTKO                                GPLOTKO@CROWELL.COM

COUNSEL TO CENTURY INSURERS, ALLIANZ INSURERS     CROWELL & MORING LLP                     MARK D. PLEVIN & KEVIN D. CACABELOS                   MPLEVIN@CROWELL.COM; KCACABELOS@CROWELL.COM

                                                  DALIMONTE RUEB STOLLER, LLP              JOHN A DALIMONTE, JENNIFER ORENDI & GREGORY RUEB JOHN@DRLAWLLP.COM; GREG@DRLAWLLP.COM
COUNSEL TO THE CONTINENTAL INS CO                 DAVID CHRISTIAN ATTORNEYS LLC            DAVID CHRISTIAN                                  DCHRISTIAN@DCA.LAW

                                                                                                                                                JDEAN@DOBSLEGAL.COM; TBRANHAM@DOBSLEGAL.COM;
                                                  DEAN OMAR BRANHAM SHIRLEY, LLC           JESSICA DEAN, J BRADLEY SMITH, CHARLES W BRANHAM III BSMITH@DOBSLEGAL.COM
                                                                                                                                                AIDAN.MCCORMACK@DLAPIPER.COM;
COUNSEL TO CENTURY INSURERS                       DLA PIPER LLP (US)                       AIDAN MCCORMACK & BRIAN SEIBERT                      BRIAN.SEIBERT@DLAPIPER.COM
                                                  DRISCOLL FIRM, LLC                       JOHN DRISCOLL
COUNSEL TO REPUBLIC INDEMNITY                     DUANE MORRIS LLP                         PHILIP R. MATTHEWS                                   PRMATTHEWS@DUANEMORRIS.COM

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                       ROLE                                        COMPANY                                          NAME                                           EMAIL
COUNSEL TO REPUBLIC INDEMNITY                     DUANE MORRIS LLP                           SOMMER L. ROSS                                    SLROSS@DUANEMORRIS.COM
COUNSEL TO PENSION BENEFIT GUARANTY CORP          EAMONN O'HAGAN, ESQ
COUNSEL TO PTI UNION LLC & PTI ROYSTON LLC        EMMET, MARVIN & MARTIN LLP                 THOMAS A PITTA                                    TPITTA@EMMETMARVIN.COM
                                                  EPIQ CORPORATE RESTRUCTURING, LLC          LTL CASE TEAM                                     LTLINFO@EPIQGLOBAL.COM
                                                  FEARS NACHAWATI LAW FIRM                   DARREN MCDOWEL & MAJED MACHAWATI                  DMCDOWELL@FNLAWFIRM.COM
                                                  FERRARO LAW FIRM                           LESLIE ROTHENBERG & JOSE BECERR                   LBR@FERRAROLAW.COM; JLB@FERRAROLAW.COM
                                                  FLINT LAW FIRM LLC                         ETHAN FLINT                                       EFLINT@FLINTLAW.COM
                                                                                                                                               DSTOLZ@GENOVABURNS.COM;
                                                                                             DANIEL M. STOLZ, ESQ, DONALD W. CLARKE, ESQ,      DCLARKE@GENOVABURNS.COM;
COUNSEL TO OFFIC. COMMIT. OF TALC CLAIMANTS       GENOVA BURNS LLC                           MATTHEW I. W. BAKER, ESQ                          MBAKER@GENOVABURNS.COM
                                                                                                                                               SGIMIGLIANO@LAWGMM.COM;
                                                                                             STEPHEN V. GIMIGLIANO, JOHN MALONEY & ROBIN       JMALONEY@LAWGMM.COM;
COUNSEL TO TRAVELERS                              GIMIGLIANO MAURIELLO & MALONEY             RABINOWITZ                                        RRABINOWITZ@LAWGMM.COM
                                                                                                                                               KGRUNFELD@GOLOMBHONIK.COM;
                                                                                                                                               RGOLOMB@GOLOMBHONIK.COM;
                                                                                             ATN RICHARD GOLOMB, ANDREW SPIRIT & KENNETH       ASPIRT@GOLOMBHONIK.COM;
                                                  GOLOMB SPIRIT GRUNFELD, PC                 GRUNFELD                                          KGOLOMB@GOLOMBLEGAL.COM
COUNSEL TO MOTLEY RICE LLC                        GREENBAUM, ROWE, SMITH & DAVIS LLP         NANCY ISAACSON, ESQ                               NISAACSON@GREENBAUMLAW.COM
COUNSEL TO BAUSCH HEALTH                          GREENBERG TRAURIG, LLP                     ALAN J. BRODY                                     BRODYA@GTLAW.COM
                                                                                                                                               AHALPERIN@HALPERINLAW.NET;
COUNSEL TO BLUE CROSS BLUE SHIELD                 HALPERIN BATTAGLIA BENZIJA LLP             ALAN D. HALPERIN, DONNA H. LIEBERMAN              DLIEBERMAN@HALPERINLAW.NET
COUNSEL TO THE AMICI PROFESSORS                   HERRICK FEINSTEIN LLP                      STEVEN SMITH, RACHEL GINZBURG
                                                  HILL HILL CARTER FRANCO COLE & BLACK, PC   ELIZABETH CARTER
                                                  HONIK LLC                                  RUBEN HONIK & DAVID STANOCH                            RUBEN@HONIKLAW.COM; DAVID@HONIKLAW.COM
                                                                                                                                                    CHRIS.KIPLOK@HUGHESHUBBARD.COM;
                                                                                             CHRISTOPHER L. KIPLOK, WILLIAM J. BEAUSOLEIL & ERIN E. WILLIAM.BEAUSOLEIL@HUGHESHUBBARD.COM;
COUNSEL TO IMERYS SA                              HUGHES HUBBARD & REED LLP                  DIERS                                                  ERIN.DIERS@HUGHESHUBBARD.COM
COUNSEL TO ONDERLAW, LLC                          J.C. WHITE LAW GROUP PLLC                  JAMES C. WHITE                                         JWHITE@JCWHITELAW.COM
COUNSEL TO BARNES LAW GROUP PLAINTIFFS            JD THOMPSON LAW                            JUDY D. THOMPSON                                       JDT@JDTHOMPSONLAW.COM
                                                  JOHNSON LAW GROUP                          BLAKE TANASE & BASIL ADHAM
DEBTOR'S COUNSEL                                  JONES DAY                                  BRAD B ERENS                                           BBERENS@JONESDAY.COM
                                                                                                                                                    GMGORDON@JONESDAY.COM;
DEBTOR'S COUNSEL                                  JONES DAY                                  GREGORY M GORDON, DAN B. PRIETO & AMANDA RUSH DBPRIETO@JONESDAY.COM; ASRUSH@JONESDAY.COM
                                                  KARST & VON OISTE LLP                      ERIC KARST                                             EPK@KARSTVONOISTE.COM
COUNSEL TO TCC T WHETSEL, ET AL                   KARST & VON OISTE, LLP                     DAVID A CHANDLER                                       DAC@KARSTVONOISTE.COM
                                                                                             DAVID S. ROSNER, ROBERT M. NOVICK & ANDREW S.          DROSNER@KASOWITZ.COM; RNOVICK@KASOWITZ.COM;
COUNSEL TO CYPRUS MINES CORPORATION               KASOWITZ BENSON TORRES LLP                 GOLDEN                                                 AGOLDEN@KASOWITZ.COM
COUNSEL TO CYPRUS MINES CORPORATION               KASOWITZ BENSON TORRES LLP                 MICHAEL E. HUTCHINS                                    MHUTCHINS@KASOWITZ.COM
COUNSEL TO ATLANTA INTERNATIONAL COMPANY, ETC     KATTEN MUCHIN ROSENMAN LLP                 SHAYA ROCHESTER                                        SHAYA.ROCHESTER@KATTEN.COM

COUNSEL TO ATLANTA INTERNATIONAL INSURANCE, ETC   KATTEN MUCHIN ROSENMAN LLP                 KELSEY R. PANIZZOLO                               KELSEY.PANIZZOLO@KATTEN.COM
                                                                                             C/O JOSEPH SATTERLEY, STEVEN KAZAN & DENYSE F.
                                                  KAZAN MCCLAIN SATTERLY & GREENWOOD PLC     CLANCY                                            JSATTERLEY@KAZANLAW.COM
COUNSEL TO TIG INSURANCE CO & EVEREST REINSURANCE
CO                                                KENNEDYS CMK LLP                           HEATHER E. SIMPSON                                HEATHER.SIMPSON@KENNEDYSLAW.COM
                                                                                                                                               ZUKIN@KIESEL.LAW; KIESEL@KIESEL.LAW;
                                                  KIESEL LAW, LLP                            PAUL R KIESEL & MELANIE PALMER                    PALMER@KIESEL.LAW
COUNSEL TO BESTWALL LLC                           KING & SPALDING LLP                        CHELSEA COREY                                     CCOREY@KSLAW.COM
COUNSEL TO BESTWALL LLC                           KING & SPALDING LLP                        RICHARD A. SCHNEIDER                              DSCHNEIDER@KSLAW.COM

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                     ROLE                                        COMPANY                                            NAME                                              EMAIL
COUNSEL TO AD HOC MESOTHELIOMA COMMITTEE         KLEHR HARRISON HARVEY BRANZBURG LLP        CAROL A SLOCUM, MORTON R BRANZBURG
COUNSEL TO AD HOC MESOTHELIOMA COMMITTEE         KLEHR HARRISON HARVEY BRANZBURG LLP        MORTON R. BRANZBURG, ESQ.
                                                 LANIER LAW FIRM                            MICHAEL A AKSELRUD                                   MICHAEL.AKSELRUD@LANIERLAWFIRM.COM
COUNSEL TO IMERYS TALC AMERICA, INC. ETC.        LATHAM & WATKINS LLP                       ADAM S. RAVIN                                        ADAM.RAVIN@LW.COM
                                                                                            JEFFREY E. BJORK, KIMBERLY A. POSIN, AMY C.          JEFF.BJORK@LW.COM; KIM.POSIN@LW.COM;
COUNSEL TO IMERYS TALC AMERICA, INC., ETC        LATHAM & WATKINS LLP                       QUARTAROLO                                           AMY.QUARTAROLO@LW.COM
COUNSEL TO VARIOUS CLAIMANTS                     LAW FIRM OF BRIAN W HOFMEISTER, LLC        BRIAN W. HOFMEISTER                                  BWH@HOFMEISTERFIRM.COM
COUNSEL TO VARIOUS CLAIMANTS                     LAW OFFICES OF MITCHELL J. MALZBERG, LLC   MITCHELL MALZBERG, ESQ.                              MMALZBERG@MJMALZBERGLAW.COM
COUNSEL TO LINDA RABASCA AND BRANDI CARL         LAW OFFICES OF R. KEITH JOHNSON, P.A.      R. KEITH JOHNSON
                                                 LEVIN PAPANTONIO RAFFERTY                  CHRISTOPHER TISI
COUNSEL TO RANDY DEROUEN                         LEVY KONIGSBERG LLP                        JEROME BLOCK & AUDREY RAPHAEL                        JBLOCK@LEVYLAW.COM
                                                 LEVY KONIGSBERG LLP                        MOSHE MAIMON                                         MMAIMON@LEVYLAW.COM
COUNSEL TO ERWIN CHEMERINSKY, GIOVANNI SOSA      LEX NOVA LAW LLC                           E RICHARD DRESSEL                                    RDRESSEL@LEXNOVALAW.COM
COUNSEL TO EVAN PLOTKIN                          LEX NOVA LAW LLC                           E RICHARD DRESSEL                                    RDRESSEL@LEXNOVALAW.COM
COUNSEL TO DISANTO                               LITE DEPALMA GREENBERG & AFANADOR, LLC     ALLEN J. UNDERWOOD II                                AUNDERWOOD@LITEDEPALMA.COM
                                                                                                                                                 KROSEN@LOWENSTEIN.COM;
COUNSEL TO JOHNSON & JOHNSON                     LOWENSTEIN SANDLER LLP                     KENNETH A. ROSEN, MARY E. SEYMOUR                    MSEYMOUR@LOWENSTEIN.COM
DEBTOR                                           LTL MANAGEMENT LLC                         JOHN K KIM, CHIEF LEGAL OFFICER                      JKIM2@ITS.JNJ.COM
COUNSEL TO WESTCHESTER FIRE INSURANCE COMPANY    MANIER & HEROD, P.C.                       ROBERT W. MILLER                                     RMILLER@MANIERHEROD.COM
COUNSEL TO VARIOUS TALC CLAIMANTS                MARSHACK HAYS LLP                          LAILA MASUD, ESQ.                                    LMASUD@MARSHACKHAYS.COM
SPECIAL COUNSEL TO THE TALC CLAIMANTS            MASSEY & GAIL LLP                          JONATHAN S. MASSEY                                   JMASSEY@MASSEYGAIL.COM

COUNSEL TO TCC KATHERINE TOLLEFSON               MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC SUZANNE M RATCLIFFE                                     SRATCLIFFE@MRHFMLAW.COM

                                                 MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC CLAYTON L. THOMPSON                                     CTHOMPSON@MRHFMLAW.COM

                                                 MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC T BARTON FRENCE                                        BFRENCH@MRHFMLAW.COM
                                                                                                                                                 BKAHN@MCCARTER.COM;
                                                 MCCARTER & ENGLISH LLP                     BRETT D. KAHN, THOMAS W. LADD                        TLADD@MCCARTER.COM
                                                                                                                                                 ASODONO@MSBNJ.COM;
COUNSEL TO ALISHIA LANDRUM                       MCMANIMON, SCOTLAND & BAUMANN, LLC         ANTHONY SODONO, SARI PLACONA                         SPLACONA@MSBNJ.COM
                                                                                                                                                 EILEEN.MCCABE@MENDES.COM;
COUNSEL TO ATLANTA INTERNATIONAL INSURANCE ETC   MENDES & MOUNT LLP                         EILEEN T. MCCABE, STEPHEN T. ROBERTS                 STEPHEN.ROBERTS@MENDES.COM
                                                 MILLER FIRM, LLC                           CURTIS G HOKE                                        CHOKE@MILLERFIRMLLC.COM
                                                 MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND                                                         PWKALISH@MINTZ.COM;
COUNSEL TO ALLIANZ INSURERS                      POPEO, P.C                                 PAUL W. KALISH, ELLEN M. FARRELL                     EMFARRELL@MINTZ.COM
                                                                                                                                                 RWRIGHT@MWHATTORNEYS.COM;
                                                                                            RICHARD S WRIGHT, ANDREW T HOUSTON & CALEB           AHOUSTON@MWHATTORNEYS.COM;
COUNSEL TO ARNOLD & ITKIN PLAINTIFFS             MOON WRIGHT & HOUSTON, PLLC                BROWN                                                CBROWN@MWHATTORNEYS.COM
COUNSEL TO J & J AND J & J CONSUMER INC.         MOORE & VAN ALLEN PLLC                     HILLARY B CRABTREE                                   HILLARYCRABTREE@MVALAW.COM
                                                                                                                                                 LBERKOFF@MORITTHOCK.COM;
COUNSEL TO PTI UNION, LLC ET AL.                 MORITT HOCK & HAMROFF LLP                  LESLIE A BERKOFF & ALLISON AROTSKY                   AAROTSKY@MORITTHOCK.COM
COUNSEL TO PLAINTIFFS                            MOTLEY RICE LLC                            DANIEL R. LAPINSKI                                   DLAPINSKI@MOTLEYRICE.COM
                                                 MOTLEY RICE LLC                            CARMEN S. SCOTT                                      CSCOTT@MOTLEYRICE.COM
                                                 MOTLEY RICE LLC                            JOHN D HURST                                         JHURST@MOTLEYRICE.COM
                                                 NAPOLI SHKOLNIK PLLC                       JAMES D HEISMAN & CHRISTOPHER R LOPALO               CLOPALO@NAPOLIBERN.COM;
                                                                                            JOHN A. NORTHEN, JOHN PAUL H. COURNOYER & VICKI L.   JAN@NBFIRM.COM; VLP@NBFIRM.COM;
COUNSEL TO CYPRUS AMAX MINERALS COMPANY          NORTHERN BLUE, LLP                         PARROTT                                              JPC@NBFIRM.COM
COUNSEL TO CYPRUS MINES CORPORATION              NORTHERN BLUE, LLP                         JOHN A. NORTHEN                                      JAN@NBFIRM.COM

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                      ROLE                                        COMPANY                                            NAME                                                  EMAIL
COUNSEL TO CYRPUS MINES CORPORATION               NORTHERN BLUE, LLP                            JOHN PAUL COURNOYER & VICKI L. PARROTT               JPC@NBFIRM.COM; VLP@NBFIRM.COM
                                                                                                                                                     RACHEL.OBALDO@OAG.TEXAS.GOV;
COUNSEL FOR THE STATE OF TEXAS                    OFFICE OF THE ATTORNEY GENERAL OF TEXAS       RACHEL R OBALDO & AUTUMN D HIGHSMITH                 AUTUMN.HIGHSMITH@OAG.TEXAS.GOV
                                                                                                                                                     LAUREN.BIELSKIE@USDOJ.GOV;
                                                                                                LAUREN BIELSKIE, JEFFREY M. SPONDER & MITCHELL B.    JEFFREY.M.SPONDER@USDOJ.GOV;
                                                  OFFICE OF THE US TRUSTEE                      HAUSMAN                                              MITCHELL.B.HAUSMAN@USDOJ.GOV
COUNSEL TO AWKO                                   OFFIT KURMAN, P.A.                            PAUL J. WINTERHALTER                                 PWINTERHALTER@OFFITKURMAN.COM
COUNSEL TO AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PLLC                                              OFFIT KURMAN, P.A.                            PAUL R. BAYNARD, ESQ.                                PAUL.BAYNARD@OFFITKURMAN.COM
                                                  ONDERLAW, LLC                                 JAMES ONDER                                          ONDER@ONDERLAW.COM
                                                                                                                                                     JBOUGIAMAS@OTTERBOURG.COM;
                                                                                                JOHN BOUGIAMAS, MELANIE L CYGANOWSKI & ADAM C        MCYGANOWSKI@OTTERBOURG.COM;
COUNSEL TO PLANTIFF'S STEERING COMMITTEE          OTTERBOURG P.C.                               SILVERSTEIN                                          ASILVERSTEIN@OTTERBOURG.COM
                                                                                                                                                     LJONES@PSZJLAW.COM;
                                                                                                                                                     KDINE@PSZJLAW.COM;
                                                                                                LAURA JONES, KAREN DINE, COLIN ROBINSON, PETER       CROBINSON@PSZJLAW.COM;
COUNSEL TO ARNOLD & ITKIN LLP                     PACHULSKI STANG ZIEHL & JONES LLP             KEANE                                                PKEANE@PSZJLAW.COM

COUNSEL FOR THE CONTINENTAL INSURANCE COMPANY     PARKER POE ADAMS & BERNSTEIN LLP              ASHLEY A EDWARDS, ESQ                                ASHLEYEDWARDS@PARKERPOE.COM

COUNSEL TO ONDERLAW, LLC                          PARKINS LEE & RUBIO LLP                       CHARLES M. RUBIO, LENARD M. PARKINS                  CRUBIO@PARKINSLEE.COM; LPARKINS@PARKINSLEE.COM

SPECIAL COUNSEL TO THE TALC CLAIMANTS             PARKINS LEE & RUBIO LLP                       LENARD M. PARKINS & CHARLES M. RUBIO                 LPARKINS@PARKINSLEE.COM; CRUBIO@PARKINSLEE.COM
OFFICE OF THE GENERAL COUNSEL                     PENSION BENEFIT GUARANTY CORPORATION          CAROLYN J LACHMAN                                    LACHMAN.CAROLYN@PBGC.GOV; EFILE@PBGC.GOV
OFFICE OF THE GENERAL COUNSEL                     PENSION BENEFIT GUARANTY CORPORATION          SIMON J TORRES                                       TORRES.SIMON@PBGC.GOV; EFILE@PBGC.GOV
                                                                                                                                                     RAPARISI@PBNLAW.COM;
COUNSEL TO RIO TINTO AMERICA HOLDINGS INC.,       PORZIO, BROMBERG & NEWMAN, P.C.               RACHEL A. PARISI, ESQ.                               KDCURTIN@PBNLAW.COM
                                                                                                                                                     SLIEBERMAN@PRYORCASHMAN.COM;
COUNSEL WILLIAM HART PLAINTIFFS                   PRYOR CASHMAN LLP                             SETH H. LIEBERMAN & ANDREW S. RICHMOND               ARICHMOND@PRYORCASHMAN.COM
COUNSEL TO PROFESSOR J. MARIA GLOVER              RABINOWITZ, LUBETKIN & TULLY, LLC             JONATHAN RABINOWITZ                                  JRABINOWITZ@RLTLAWFIRM.COM
FUTURE TALC CLAIMANTS REPRESENTATIVE              RANDI S. ELLIS                                RANDI S. ELLIS, LLC                                  RANDI@RANDIELLIS.COM
                                                                                                                                                     MDF@RAWLINGSANDASSOCIATES.COM;
COUNSEL TO BLUE CROSS BLUE SHIELD                 RAWLINGS & ASSOCIATES                         MARK D FISCHER, ROBERT C GRIFFITH                    RG1@RAWLINGSANDASSOCIATES.COM
                                                                                                CRICHARD RAYBURN, JR, JOHN R MILLER, JR, MATTHEW L   RRAYBURN@RCDLAW.NET; JMILLER@RCDLAW.NET;
COUNSEL TO DEBTOR                                 RAYBURN COOPER & DURHAM, P.A.                 TOMSIC                                               MTOMSIC@RCDLAW.NET
COUNSEL TO CYPRUS MINES CORPORATION               REED SMITH LLP                                DEREK J. BAKER, ESQ.                                 DBAKER@REEDSMITH.COM;
COUNSEL TO CYPRUS MINES CORPORATION               REED SMITH LLP                                PAUL M SINGER, ESQ                                   PSINGER@REEDSMITH.COM
COUNSEL TO CYRUS MINES CORPORATION                REED SMITH LLP                                JASON D ANGELO, ESQ                                  JANGELO@REEDSMITH.COM
                                                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
                                                  DAVIS, INC.                                   MARK P. ROBINSON, JR.
                                                  ROSS FELLER CASEY, LLP                        BRIAN J. MCCORMICK, JR.                              BMCCORMICK@ROSSFELLERCASEY.COM
                                                                                                                                                     JWEINBERG@RUGGERILAW.COM;
COUNSEL TO HARTFORD ACCIDENT AND INDEMNITY...     RUGGERI PARKS WEINBERG LLP                    JOSHUA D. WEINBERG, JOSHUA P. MAYER                  JMAYER@RUGGERILAW.COM
                                                                                                                                                     JAUGUST@SAIBER.COM;
COUNSEL TO KRISTIE LYNN DOYLE                     SAIBER LLC                                    JOHN M AUGUST & MARC E WOLIN                         MWOLIN@SAIBER.COM
                                                  SAVO, SCHALK, GILLESPIE, O'GRODNICK & FISHER,                                                      SCHALK@CENTRALJERSEYLAW.COM;
COUNSEL TO JEANNE STEPHENSON                      P.A.                                          CHARLES S. SCHALK, JOHN F. BRACAGLIA JR.             BROKAW@CENTRALJERSEYLAW.COM




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                        ROLE                                         COMPANY                                          NAME                                              EMAIL
                                                                                                                                                  AABRAMOWITZ@SHERMANSILVERSTEIN.COM;
                                                  SHERMAN SILVERSTEIN KOHL ROSE & PODOLSKY,   ARTHUR J ABRAMOWITZ, ALAN I MOLDOFF, ROSS J         AMOLDOFF@SHERMANSILVERSTEIN.COM;
COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS   P.A.                                        SWITKES                                             RSWITKES@SHERMANSILVERSTEIN.COM
                                                  SIMMONS HANLY CONROY LLC                    JAMES KRAMER                                        JKRAMER@SIMMONSFIRM.COM
                                                  SIMON GREENSTONE PANATIERE BARTLETT, PC     CHRIS PANATIER                                      CPANATIER@SGPBLAW.COM
                                                                                                                                                  SQUSBA@STBLAW.COM; CWALDMAN@STBLAW.COM;
                                                                                              SANDEEP QUSBA, CRAIG S. WALDMAN, JAMIE J. FELL,     JAMIE.FELL@STBLAW.COM;
COUNSEL TO BAUSCH HEALTH                          SIMPSON THACHER & BARTLETT LLP              ZACHARY J. WEINER, ESQS                             ZACHARY.WEINER@STBLAW.COM;
COUNSEL TO TRAVELERS                              SIMPSON THACHER & BARTLETT LLP              ANDREW T. FRANKEL                                   AFRANKEL@STBLAW.COM
COUNSEL TO TRAVELERS CASUALTY AND SURETY                                                      MICHAEL H. TORKIN, ANDREW T. FRANKEL, KATHRINE A.   MICHAEL.TORKIN@STBLAW.COM;
COMPANY                                           SIMPSON THACHER & BARTLETT LLP              MCLENDON                                            AFRANKEL@STBLAW.COM; KMCLENDON@STBLAW.COM;
COUNSEL TO HARTFORD ACCIDENT AND INDEMNITY ..     STEVENS & LEE, P.C.                         ANDREAS D. MILLIARESSIS                             ANDREAS.MILLIARESSIS@STEVENSLEE.COM
COUNSEL TO HARTFORD ACCIDENT AND INDEMNITY..      STEVENS & LEE, P.C.                         JOSEPH H. HUSTON, JR.                               JOSEPH.HUSTON@STEVENSLEE.COM
                                                                                                                                                  BETH@GORIJULIANLAW.COM;
                                                                                                                                                  SARA@GORIJULIANLAW.COM;
                                                  THE GORI LAW FIRM                           D TODD MATTHEWS, BETH GORI & SARA SALGER            TODD@GORIJULIANLAW.COM
COUNSEL TO BLUE CROSS BLUE SHIELD ASSOCIATION     THE HENDERSON LAW FIRM, PLLC                                                                    HENDERSON@TITLE11.COM
COUNSEL TO BCBS OF MASSACHUSETTS                  THE KELLY FIRM, P.C.                        ANDREW J. KELLY, ESQ.                               AKELLY@KBTLAW.COM
COUNSEL TO "WILLIAMS HART PLAINTIFFS"             THE LAYTON LAW FIRM, PLLC                   CHRISTOPHER D. LAYTON                               CHRIS@THELAYTONLAWFIRM.COM
COUNSEL TO EMPLOYERS INS COMPANY OF WAUSAU &
NATIONAL CASUALTY COMPANY                         THE SHAPIRO LAW FIRM                        JANET A. SHAPIRO                                    JSHAPIRO@SHAPIROLAWFIRM.COM
                                                                                                                                                  ALTOGUT@TEAMTOGUT.COM;
                                                                                                                                                  FRANKOSWALD@TEAMTOGUT.COM;
COUNSEL TO ROGER FRANKEL                          TOGUT, SEGAL & SEGAL LLP                    ALBERT TOGUT, FRANK OSWALD, BRIAN SHAUGHNESSY       BSHAUGHNESSY@TEAMTOGUT.COM
                                                  TRAMMELL PC                                 FLETCHER V TRAMMELL                                 FLETCH@TRAMMELLPC.COM
                                                  TRAURIG LAW LLC                             JEFFREY TAURIG                                      JTRAURIG@TRAURIGLAW.COM
COUNSEL TO ATLANTA INTERNATIONAL COMPANY, ETC.    TRIF & MODUGNO LLC                          LOUIS A. MODUGNO                                    LMODUGNO@TM‐FIRM.COM
COUNSEL TO UNITED STATES OF AMERICA               US DEPARTMENT OF JUSTICE CIVIL DIVISION     J ZACHARY BALASKO                                   JOHN.Z.BALASKO@USDOJ.GOV
COUNSEL TO CYPRUS AMAX MINERALS CO                VINSON & ELKINS LLP                         STEVEN M ABRAMOWITZ                                 SABRAMOWITZ@VELAW.COM
COUNSEL TO DEAN OMAR BRANHAM SHIRLEY LLP          WALLACE & GRAHAM PA                         WILLIAM M. GRAHAM                                   BGRAHAM@WALLACEGRAHAM.COM
PROPOSED COUNSEL TO RANDI S. ELLIS, FTCR          WALSH PIZZI O'REILLY FALANGA                MARK FALK                                           MFALK@WALSH.LAW
                                                                                                                                                  PAF@WARDANDSMITH.COM;
                                                  WARD AND SMITH, P.A.                        PAUL A. FANNING, NORMAN J. LEONARD                  NJL@WARDANDSMITH.COM
                                                                                              DANNY KRAFT, LISA N. BUSCH, JUSTINE DELANEY & PERRY DKRAFTJR@WEITZLUX.COM; JDELANEY@WEITZLUX.COM;
                                                  WEITZ & LUXENBERG, P.C.                     WEITZ                                               LBUSCH@WEITZLUX.COM
                                                  WEITZ & LUXENBERG, P.C.                     ELLEN RELKIN                                        ERELKIN@WEITZLUX.COM
                                                                                                                                                  JESSICA.LAURIA@WHITECASE.COM;
                                                                                                                                                  GKURTZ@WHITECASE.COM;
COUNSEL TO J & J AND J & J CONSUMER INC           WHITE & CASE LLP                            JESSICA LAURIA, GLENN M KURTZ & RICARDO PASIANOTTO RICARDO.PASIANOTTO@WHITECASE.COM
                                                                                                                                                  MSHEPHERD@WHITECASE.COM;
COUNSEL TO J & J AND J & J CONSUMER INC           WHITE & CASE LLP                            MICHAEL C SHEPHERD & LAURA L FEMINO                 LAURA.FEMINO@WHITECASE.COM
COUNSEL TO J & J AND J & J CONSUMER INC.          WHITE & CASE LLP                            BLAIR WARNER                                        BLAIR.WARNER@WHITECASE.COM
                                                                                              JOHN BOUNDAS, SEJAL BRAHMNHATT, WALT CUBBERLY &
                                                  WILLIAMS HART LAW FIRM                      MARGOT TREVINO
                                                                                                                                                  ACRAIG@WINDELSMARX.COM;
COUNSEL TO ALLSTATE INSURANCE CO                  WINDELS MARX LANE & MITTENDORF LLP          ANDREW K CRAIG, STEFANO CALOGERO                    SCALOGERO@WINDELSMARX.COM




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                     ROLE                                       COMPANY                               NAME                                               EMAIL
                                                                                                                                     JLAWLOR@WMD‐LAW.COM;
                                                                                                                                     PDEFILIPPO@WMD‐LAW.COM;
                                                                                                                                     LTRETTER@WMD‐LAW.COM;
                                                                                 JAMES N. LAWLOR, PAUL DEFILIPPO, LYNDON M. TRETTER, JPACELLI@WMD‐LAW.COM;
LOCAL COUNSEL TO THE DEBTOR                     WOLLMUTH MAHER & DEUTSCH LLP     JOSEPH F. PACELLI                                   BAXELROD@WMD‐LAW.COM
COUNSEL TO AD HOC COMMITTEE OF STATES HOLDING                                                                                        MATTHEW.WARD@WBD‐US.COM; ERICKA.JOHNSON@WBD‐
CONSUMER PROTECTION CLAIMS                      WOMBLE BOND DICKINSON (US) LLP   MATTHEW WARD & ERICKA JOHNSON                       US.COM
COUNSEL TO EMPLOYERS INS. COMAPNY OF WAUSAU, ET
AL.                                             ZELLE LLP                        ALEXANDER W COGBILL                            ACOGBILL@ZELLE.COM
                                                                                 NAME AND ADDRESS INFORMATION HAS BEEN SEALED   DEBORAH.FLETCHER@FISHERBROYLES.COM




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             ROLE                            NAME                              ADDRESS1                             ADDRESS2                           ADDRESS3                CITY       STATE     ZIP
                               DRISCOLL FIRM, LLC               ATTN JOHN DRISCOLL                     211 NORTH BROADWAY, 40TH FL                                        ST LOUIS       MO       63102
                                                                (COUNSEL TO PENSION BENEFIT GUARANTY
                               EAMONN O'HAGAN, ESQ              CORP)                                  970 BROAD ST, STE 700                                              NEWARK         NJ       07102
                               HERRICK FEINSTEIN LLP            (COUNSEL TO THE AMICI PROFESSORS)      ATTN: STEVEN SMITH, RACHEL GINZBURG   2 PARK AVE                   NEW YORK       NY       10016
                               HILL HILL CARTER FRANCO COLE &   BLACK, PC                              ATTN ELIZABETH CARTER                 425 PERRY STREET             MONTGOMERY     AL       36104
                               JOHNSON LAW GROUP                ATTN BLAKE TANASE & BASIL ADHAM        2925 RICHMOND AVE, STE 1700                                        HOUSTON        TX       77098
COUNSEL TO AD HOC              KLEHR HARRISON HARVEY            (COUNSEL TO AD HOC MESOTHELIOMA        ATTN CAROL A SLOCUM, MORTON R
MESOTHELIOMA COMMITTEE         BRANZBURG LLP                    COMMITTEE)                             BRANZBURG                             10000 LINCOLN DRIVE E, STE 201 MARLTON      NJ       08053
COUNSEL TO AD HOC              KLEHR HARRISON HARVEY            (COUNSEL TO AD HOC MESOTHELIOMA
MESOTHELIOMA COMMITTEE         BRANZBURG LLP                    COMMITTEE)                             ATTN: MORTON R. BRANZBURG, ESQ.       1835 MARKET ST.              PHILADELPHIA   PA       19103
COUNSEL TO LINDA RABASCA AND   LAW OFFICES OF R. KEITH JOHNSON, (COUNSEL TO LINDA RABASCA AND BRANDI
BRANDI CARL                    P.A.                             CARL)                                  ATTN: R. KEITH JOHNSON                1275 S. NC BUS. HWY. 16      STANLEY        NC       28164
                               LEVIN PAPANTONIO RAFFERTY        ATTN: CHRISTOPHER TISI                 316 S BAYLEN STREET, SUITE 600                                     PENSACOLA      FL       325002

                               WILLIAMS HART LAW FIRM          ATN JOHN BOUNDAS, SEJAL BRAHMNHATT, WALT CUBBERLY & MARGOT TREVINO            8441 GULF FREEWAY, STE 600   HOUSTON        TX       77017
